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                    In the United States District Court
                         for the District of Kansas




United States of America,
     Plaintiff,

v.                                          Case No. 2:00-cr-20066-JAR-5
Salvador Mendez-Zamora,
     Defendant.


                 Order Reducing Term of Imprisonment


   This matter is before the Court on defendant Salvador Mendez-Zamora’s

motion for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i). Docs. 311, 312.

The government now does not oppose the request and agrees the defendant’s

sentence should be reduced from life to 280 months’ imprisonment.

   The “combination” of a sentencing scheme that would no longer apply and “a

defendant’s unique circumstances” can “constitute extraordinary and compelling

reasons” for a reduction under § 3582(c)(1)(A)(i). See United States v. McGee, 992

F.3d 1036, 1048 (10th Cir. 2021); United States v. Maumau, 993 F.3d 821, 837

(10th Cir. 2021). Mr. Mendez presents a combination of reasons that warrant a

reduction, including the fact he received a life sentence under the no longer

applicable mandatory guidelines, his youth at the time of the offense, codefendant

sentence disparities, and his post-sentencing rehabilitation.
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   In 2001, an indictment charged Mr. Mendez, four of his older siblings, and

two other codefendants with trafficking methamphetamine. Three of the

defendants absconded and the case against them was dismissed. Doc. 290. One

brother, Mario Mendez-Zamora, pleaded guilty and was sentenced to 210

months’ imprisonment. Heraclio Gaona-Sepulveda went to trial and was

convicted, and was sentenced to 264 months’ imprisonment, later reduced to 235

months. Prior to trial, the government offered Mr. Mendez a plea deal including

25 years’ imprisonment, which Mr. Mendez rejected.

   Mr. Mendez went to trial and was convicted of one count of conspiring to

possess with the intent to distribute more than 1 kilogram of methamphetamine,

two counts of possession with intent to distribute methamphetamine, and one

count of using a phone to facilitate drug trafficking. Doc. 149, 190. He had no

prior criminal history. Mr. Mendez’s mandatory guidelines range was life. The

district court judge imposed a life sentence.

   The changes in the law with respect to the advisory guidelines and youth and

culpability are extraordinary and compelling reasons for a reduction in this case.

At the time of sentencing, the guidelines were mandatory. The sentencing court

was required to give Mr. Mendez a life sentence unless it found a specified

departure was available. See United States v. Booker, 543 U.S. 220, 234 (2005).

Youth was not a permissible ground for a departure, which the sentencing court

specifically noted. USSG § 5H1.1 (2001); Doc. 223, at 169-70. But under the now-

advisory guidelines system, a sentencing court can consider a much wider
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variety of bases for a downward variance, including Mr. Mendez’s youth, which

likely would have affected the sentence he received. See, e.g., United States v.

Mann, 2021 WL 2019187, at *3 (E.D.N.C. May 20, 2021) (defendant “was

sentenced under the mandatory guidelines regime, which gave this court no

discretion to fashion a sentence tailored to the individual”); United States v.

Kratsas, 2021 WL 242501, at *4 (D. Md. Jan. 25, 2021) (“the then mandatory life

sentence imposed presents grounds for compassionate release consideration”);

United States v. Parker, 461 F. Supp. 3d 966, 981 (C.D. Cal. 2020) (finding

mandatory-guidelines life sentence to be an extraordinary and compelling

reason for a reduction).

   The law has also changed significantly since Mr. Mendez’s sentencing with

respect to the law’s recognition of the relationship between youth and

culpability. Contrary to the law in 2001, current law recognizes that young

people are less mature, are more reckless and impulsive, are more vulnerable to

surrounding influence, lack the ability to control their lives and surroundings,

and have characters that are less fixed and more amenable to change, all of

which makes irrevocable sentences like mandatory life inappropriate in many

cases. See, e.g, Miller v. Alabama, 567 U.S. 460, 471 (2012) (discussing the

relationship between youth and culpability, and the impropriety of a mandatory

life sentence for minors); United States v. Espino, No. 03-20051-08-JWL, 2022

WL 4465096, at *2-3 (D. Kan. Sept. 26, 2022) (reviewing law on youth and

culpability). In this case, Mr. Mendez was at an age and in a situation when all
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of the concerns about youth and culpability were present. He was just 18 when

he became involved in the conspiracy, and 20 when he was arrested. Multiple of

Mr. Mendez’s older brothers were also charged in the conspiracy. The record

shows that when Mr. Mendez met other drug distributors, his action was to

connect that person with his brothers, showing that while he was involved in the

drug trafficking, it was his older brothers who oversaw it.

   In fact, Mr. Mendez’s older brother and codefendant, Mario, was charged with

the same conspiracy to distribute methamphetamine, along with additional

counts of distributing methamphetamine. Doc. 9. Mario pleaded guilty to one

count and received a sentence of 210 months. Doc. 133. He has been released. Of

all the codefendants, Mr. Mendez—the youngest brother—was the only

codefendant sentenced to life in prison, and is the only one still in prison. This

disparity also supports a reduction. See Maumau, 993 F.3d at 827; United States

v. Dyke, No. 10-20037-02-JWL, Doc. 518, at 3 (D. Kan. Nov. 23, 2021); United

States v. Sanchez, 2021 WL 2808702 at *11 (E.D. Cal. July 6, 2021) (collecting

cases finding that codefendant sentence disparities warrant a reduction).

   The Court also considers the 18 U.S.C. § 3553(a) factors, including Mr.

Mendez’s post-sentencing conduct, which “provides the most-up-to-date picture”

of his history and characteristics. United States v. Merriweather, 2021 WL

3488407, at *6 (D. Kan. Aug. 9, 2021). Mr. Mendez is now 42 years old and has

served more than 22 years in prison, far longer than any other defendant in the

case. He had no prior criminal history. He was not convicted or accused of any
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violence as part of the offense. He has not been accused of any violence in prison.

And despite his life sentence, he has educated himself in BOP. He has maintained

employment, earned his GED and learned English as a second language. Mr.

Mendez also has the support system of his family. He is not a citizen and will be

deported to Mexico upon his release from prison, where he can reconnect with his

family and will pose no danger to the public.

   For all these reasons, a 280-month sentence adequately accounts for the

seriousness of the offense, as well as Mr. Mendez’s youth at the time. It is a

sentence longer than that served by any other codefendant and is sufficient

punishment in the circumstances of this case.

   The Court has considered the applicable factors set forth in 18 U.S.C.

§ 3582(c)(1)(A)(i) and 18 U.S.C. § 3553(a) to modify Mr. Mendez’s total sentence

from life to 280 months’ imprisonment. That sentence is sufficient to serve the

goals of incapacitation, deterrence, retribution, and rehabilitation. Mr. Mendez’s

sentence on Counts 1, 5 and 7 are therefore reduced to 280 months’

imprisonment, to run concurrently with each other. The sentence for Count 8

remains 48 months’ imprisonment, concurrent with all other counts.

   IT IS THEREFORE ORDERED by the Court that the Defendant’s motion

for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), Docs. 311, 312,

is GRANTED. The Court reduces Defendant’s total sentence from life to 280

months’ imprisonment.

   All previously imposed terms and conditions in the judgment remain in effect.
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IT IS SO ORDERED.

Dated: October 14, 2022
                                 S/ Julie A. Robinson
                                JULIE A. ROBINSON
                                UNITED STATES DISTRICT JUDGE




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